Case 1:07-cv-02235-MSK-KMT Document 50 Filed 04/29/08 USDC Colorado Page 1 of 2




                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO
                                      Honorable Marcia S. Krieger

  Civil Action No. 07-cv-02235-MSK-KMT

  DONALD N. TARANTO,

                 Plaintiff,

  v.

  UNITED STATES OF AMERICA,

                 Defendant.


                ORDER PROVISIONALLY GRANTING MOTION TO SEAL
                EXHIBITS A, B AND E TO THE PLAINTIFF'S REPLY BRIEF


         THIS MATTER comes before the Court on the Plaintiff's unopposed motion (#48)

  seeking to seal Exhibits A through E attached to his reply brief (#47). He contends that the

  electronic redaction of social security numbers on the exhibits is not secure.

         Pursuant to Fed. R. Civ. P. 5.2(a), only the last four digits of a social security number

  should be visible in a public court filing. Only Exhibits A, B and E contain electronically

  redacted social security numbers. As filed, these three exhibits can be manipulated using Adobe

  Acrobat to reveal the redacted social security numbers. Thus, there are compelling reasons to

  seal Exhibits A, B and E. However, Exhibits C and D contain no redactions, and thus there is no

  demonstrated basis for sealing them.

         The time for public objections to the motion to seal has not yet passed. See

  D.C.COLO.LCivR 7.2(E). Therefore, the Court will provisionally seal Exhibits A, B and E

  while allowing the public an opporunity to make any objections.

         IT IS THEREFORE ORDERED that the Court provisionally grants the motion to seal
Case 1:07-cv-02235-MSK-KMT Document 50 Filed 04/29/08 USDC Colorado Page 2 of 2




  Exhibits A, B and E, but denies the motion as to Exhibits C and D. The Clerk of Court shall

  place Exhibits A, B and E to #47 under seal. If no objections are timely filed to the motion, the

  motion shall be considered granted as to Exhibits A, B and E for all purposes. The Plaintiff shall

  file properly redacted Exhibits A, B and E for the public record on or before May 6, 2008.

         Dated this 29th day of April, 2008

                                                       BY THE COURT:




                                                       Marcia S. Krieger
                                                       United States District Judge




                                                  2
